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PROB 12C SD/FL PACTS No. 1528
(SD/FL 3/05)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 14-20884-CR-WILLIAMS

PETITION FOR WARRANT OR SUMMONS FOR OFFENDER UNDER SUPERVISION

Name of Offender: Leslie Roberts

Name of Sentencing Judicial Officer: The Honorable Kathleen M. Williams United States District
Judge, Miami, Florida

Date of Original Sentence: June 15, 2015
Original Offense: Mail Fraud, 18 U.S.C. § 1341, a Class C Felony

Original Sentence: Twenty-two (22) months custody of the Bureau of Prisons, three years of
supervised release. Special conditions include the defendant shall: 1) obtain prior
written approval from the Court before entering into any self-employment; 2)
not apply for, solicit, or incur any further debt and 3) not own, operate, act as a
consultant, be employed in, or participate in any manner, in any art or painting
sales or related concerns during the period of supervision. A $100 special
assessment was ordered. The Restitution was deferred.

March 6, 2016: Twenty-two (22) months custody of the Bureau of Prisons, three
years of supervised release. Special conditions include the defendant shall: 1)
obtain prior written approval from the Court before entering into any self-
employment; 2) not apply for, solicit, or incur any further debt and 3) not own,
operate, act as a consultant, be employed in, or participate in any manner, in any
art or painting sales or related concerns during the period of supervision. A $100

special assessment was ordered. Restitution was ordered in the amount of
$175,800.00.

Type of Supervision: Supervised Release Date Supervision Commenced: April 17, 2017

Assistant U.S. Attorney: Defense Attorney:
Amanda Perwin Michael Perry Mirer
99 NE 4" St

Miami, FL, 33132
Office:305-961-9061

Email: Amanda.perwin@usdoj.gov -AOSEEC
GOVERNMENT
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CASE
PETITIONING THE COURT NO.  14-20884-cR-KMW
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O To issue a warrant a sS
To issue a summons

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The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation Number Nature of Noncompliance

1. Violation of Standard Condition, by failing to submit a truthful and
complete written monthly report. The defendant’s May 2017 until March
2018, Monthly Supervision Report, contained false information regarding
monthly income from Uber in the amount of $1,233.14, when in fact,
evidence and statements submitted by the defendant support his monthly
incomes varies with Uber.

2. Violation_of Standard Condition, by failing to submit a truthful and
complete written monthly report. The defendant’s April 2018, Monthly
Supervision Report, contained false information regarding monthly income
from Uber in the amount of $1, 233.14, when in fact, evidence and statements
submitted by the defendant by way of a self-created Uber Driver Report in
the amount of $1,800 indicate this to be false.

3. Violation of Standard Condition, by failing to answer truthfully all
inquiries by the probation officer. On May 22, 2018, the defendant submitted
an April 2018 Uber Driver Report, which he knows, was not an original
document from Uber.

4. Violation of Standard Condition, by failing to follow the instructions of the
probation officer. On May 24, 2018, the defendant failed to submit Uber
receipts to verify and support April 2018 Uber Driver Report from the
defendant, as directed.

5. Violation of Standard Condition, by failing to submit a truthful and
complete written monthly report. The defendant’s May 2018, Monthly
Supervision Report, contained false information regarding monthly income
from Uber in the amount of $1, 233.14, when in fact, evidence and statements
submitted by Uber Receipts for all of May in the amount of $93.00 indicate
this to be false.

6. Violation of Special Condition, by engaging in self-employment without the
prior approval of the Court. On or about May 9, 2018, the defendant was
employed in the capacity of a driver for his wife, Silvia Castro’s company,
European Fashion Outlet, LLC without the approval of the Court.

7. Violation of Special Condition, by engaging in self-employment without the
prior approval of the Court. On or about August 2018, the defendant was
employed in the capacity of owner and/or authorized personnel for Via World
Art Gallery LCC without the approval of the Court.

8. Violation of Special Condition, by engaging in self-employment without the
prior approval of the Court. On or about March, 2018, the defendant was
employed in the capacity of owner and/or authorized personnel for Grove
Fine Art LCC without the approval of the Court.

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9. Violation _of Special Condition, by applying for, soliciting or incurring

further debt without first obtaining permission of the U.S. Probation Officer.
On or about March 29, 2017, the defendant made an application for credit at
Midland Funding LLC, and was given a line of credit in the amount of
$1,448.00, as evidenced by Credit Bureau Investigation, without first
obtaining the permission from the United States Probation Officer.

10. Violation of Special Condition, by applying for, soliciting or incurring
further debt without first obtaining permission of the U.S. Probation Officer.
On or about January 6, 2017, the defendant made an application for credit at
Capital One Auto Finance, and was given a line of credit in the amount of
$26,815, as evidenced by Credit Bureau Investigation, without first obtaining
the permission from the United States Probation Officer.

11. Violation of Special Condition, by applying for, soliciting or incurring
further debt without first obtaining permission of the U.S. Probation Officer.
The defendant made a recent credit card transaction in April 2018 with the
Capital One Auto Finance, as evidenced by Credit Bureau Investigation,
without first obtaining the permission from the United States Probation
Officer.

12, Violation of Special Condition, by applying for, soliciting or incurring
further debt without first obtaining permission of the U.S. Probation Officer.
On or about April 18, 2013, the defendant made an application for credit at
Capital One Bank USA, and was given a line of credit in the amount of
$500.00. However, the defendant made a recent credit card transaction in
May 2018 in the amount of $302.00, as evidenced by Credit Bureau
Investigation, without first obtaining the permission from the United States
Probation Officer.

13. Violation of Special Condition, by applying for, soliciting or incurring
further debt without first obtaining permission of the U.S. Probation Officer.
On or about June 24, 2017, the defendant made an application for credit at
NCB Management Service, and was given a line of credit in the amount of
$3,060.00, as evidenced by Equifax, without first obtaining the permission
from the United States Probation Officer.

14. Violation of Special Condition, by owning, operating, acting as a consultant,
being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about March 10,
2017, the defendant did engage in the business of Via World Art Gallery LLC
contrary to the instructions of the U.S. Probation Officer, as evidenced by
Electronic Articles of Organization For Florida Limited Liability Company
and as well as by his own admission on May 19, 2018, in which he stated he
advises his wife on which pieces of art to purchase for the gallery.

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15. Violation of Special Condition, by owning, operating, acting as a consultant,

being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about September
24, 2017, the defendant did engage in the business of Grove Fine Art contrary
to the instructions of the U.S. Probation Officer, as well as, by his own
admission on May 19, 2018, in which he stated he advises his wife on which
pieces of art to purchase for the gallery.

16. Violation of Special Condition, by owning, operating, acting as a consultant,
being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about August
2017, the defendant did engage in the business of art sales contrary to the
instructions of the U.S. Probation Officer, as evidenced by documentation
provided by Special Agent Giczy and, as well as, by his own admission on
May 19, 2018 in which he stated he advises his wife on which pieces of art
to purchase for the gallery.

17. Violation of Special Condition, by owning, operating, acting as a consultant,
being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about August
2017, the defendant did engage in the business of painting sales contrary to
the instructions of the U.S. Probation Officer, as evidenced by documentation
provided by Special Agent Giczy and, as well as, by his own admission on
May 19, 2018 in which he stated he advises his wife on which pieces of art
to purchase for the gallery .

18. Violation of Special Condition, by owning, operating, acting as a consultant,
being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about August
2017, the defendant did engage in the business of art sales contrary to the
instructions of the U.S. Probation Officer, as evidenced by documentation
provided by Special Agent Giczy and, as well as, by his own admission on
May 19, 2018 in which he stated he advises his wife on which pieces of art
to purchase for the gallery.

19. Violation of Special Condition, by owning, operating, acting as a consultant,
being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about November
2017, the defendant did engage in the business of art sales contrary to the
instructions of the U.S. Probation Officer, as evidenced by documentation
provided by Special Agent Giczy and, as well as, by his own admission on
May 19, 2018 in which he stated he advises his wife on which pieces of art
to purchase for the gallery.

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20. Violation of Special Condition, by owning, operating, acting as a consultant,

being employed in, or participate in any manner, in any art or painting sales
or related concerns during the period of supervision. On or about March 2018,
the defendant did engage in the business of art sales contrary to the
instructions of the U.S. Probation Officer, as evidenced by documentation
provided by Special Agent Giczy and, as well as, by his own admission on
May 19, 2018 in which he stated he advises his wife on which pieces of art
to purchase for the gallery.

United States Probation Officer Recommendation:

The term of supervision should be
revoked.

[1] — extended for years, for a total term of years.
[1] The conditions of supervision should be modified as follows:

I declare under penalty of perjury that the foregoing is true and correct.

Executed on June 19, 2018

Kip Keino Jackson
Kip (yarsec ~ Jun 19 2018 2:45 PM

Kip Jackson

United States Probation Officer

Office: 305-523-5423 OY Wi sss
Cellular: 305-302-1568

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1]

THE COURT ORDERS:

CO No Action

oO The Issuance of a Warrant

Cc] The Issuance of a Summons

O Submit a Request for Modifying the Conditions or Term of Supervision

Signature of Judicial Officer

Date
